           Case 2:12-cr-00155-APG-VCF           Document 51        Filed 06/14/13     Page 1 of 4




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 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                            )
                                                        )
 9                  Plaintiff,                          )
                                                        )
10           v.                                         ) 2:12-CR-155-APG-(VCF)
                                                        )
11 HARLAN QUESTORIA HIGA,                               )
                                                        )
12                  Defendant.                          )
13                               PRELIMINARY ORDER OF FORFEITURE
14           This Court finds that on June 6, 2013, defendant HARLAN QUESTORIA HIGA pled guilty

15 to Count Two of a Four-Count Criminal Indictment charging him with Conspiracy to Possess a

16 Controlled Substance with Intent to Distribute - Tetrahydrocannabinol (THC), in violation of Title

17 21, United States Code, Sections 846 and 841(a)(1). Criminal Indictment, ECF No. 1; Change of

18 Plea Minutes, ECF No. 44; Plea Agreement, ECF No. 45.
19           This Court finds defendant HARLAN QUESTORIA HIGA agreed to the forfeiture of the

20 property set forth in the Plea Agreement. Plea Agreement, ECF No. 45.

21           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

22 America has shown the requisite nexus between property set forth in the Plea Agreement, and the

23 offense to which defendant HARLAN QUESTORIA HIGA pled guilty. Criminal Indictment, ECF

24 No. 1; Change of Plea Minutes, ECF No. 44; Plea Agreement, ECF No. 45.

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           Case 2:12-cr-00155-APG-VCF           Document 51        Filed 06/14/13     Page 2 of 4




 1           The following assets are subject to forfeiture pursuant to Title 18, United States Code,

 2 Section 924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section 2461(c); Title 21,

 3 United States Code, Section 853(a)(1) and (2); and Title 21, United States Code, Section 881(a)(11):

 4                  1)      $972 in United States Currency;

 5                  2)      Walther PPS, 9mm handgun, serial #AC8749;

 6                  3)      Sig Sauer, model P220, .45 caliber handgun, serial #G344535;

 7                  4)      Springfield Armory, model XD-9, 9mm handgun, serial #USB14380;

 8                  5)      Heckler & Koch, model HK45, .45 caliber handgun, serial #HKU-002807;

 9                  6)      Walther PPK, model S-1, .380 caliber handgun, serial #8174BAC;

10                  7)      Smith and Wesson Airweight, .38 caliber handgun, serial #DBR0046;

11                  8)      LWRR International, M6/A3, 5.56 caliber rifle, serial #80-0060;

12                  9)      Norinco, Mak-90 Sporter, 7.62 caliber rifle, serial #9458024;

13                  10)     Norinco, Mak-90 Sporter, 7.62 caliber rifle, serial #9363156;

14                  11)     5, 5.56mm caliber magazines;

15                  12)     8, 7.62x39 caliber magazines;

16                  13)     3, HK .45 caliber magazines;

17                  14)     3, Springfield XD, 9mm magazines;

18                  15)     4, Walther .380 caliber magazines;

19                  16)     3, Sig Sauer, .45 caliber magazines;

20                  17)     1, Walther 9mm magazine; and

21                  18)     any and all ammunition (“property”);

22           This Court finds the United States of America is now entitled to, and should, reduce the

23 aforementioned property to the possession of the United States of America.

24           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

25 United States of America should seize the aforementioned property.
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         Case 2:12-cr-00155-APG-VCF             Document 51       Filed 06/14/13      Page 3 of 4




 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

 2 HARLAN QUESTORIA HIGA in the aforementioned property is forfeited and is vested in the

 3 United States of America and shall be safely held by the United States of America until further order

 4 of the Court.

 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 6 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 7 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

 8 the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

 9 the name and contact information for the government attorney to be served with the petition,

10 pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

11          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

12 filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

14 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

15 following address at the time of filing:

16                  Michael A. Humphreys
                    Assistant United States Attorney
17                  Daniel D. Hollingsworth
                    Assistant United States Attorney
18                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
19                  Las Vegas, Nevada 89101
20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

21 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

22 following publication of notice of seizure and intent to administratively forfeit the above-described

23 property.

24          DATED this ______ dayofofJune,
                       14th day       __________________,
                                           2013.          2013.

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26                                                         __________________________________
                                                           UNITED STATES DISTRICT JUDGE
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         Case 2:12-cr-00155-APG-VCF           Document 51        Filed 06/14/13     Page 4 of 4




 1                                        PROOF OF SERVICE

 2         I, Michelle C. Lewis, Paralegal Specialist, certify that the following individuals were served

 3 with copies of the Preliminary Order of Forfeiture on June 10, 2013, by the below identified method

 4 of service:

 5         CM/ECF:
 6         Peter S. Christiansen
           Eglet Wall Christiansen
 7         400 South 4th Street, Suite 600
           Las Vegas, NV 89101
 8         Email: pschristiansen@egletwall.com
           Attorney for Harlan Questoria Higa
 9
           Rachel M. Korenblat
10         Federal Public Defender
           411 E. Bonneville Avenue
11         Las Vegas, NV 89101
           Email: rachel_korenblat@fd.org
12         Attorney for Jon-Paul Sadami Natto
13

14
                                                          /s/Michelle C. Lewis
15                                                        Michelle C. Lewis
                                                          Paralegal Specialist
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